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 4   Attorney for Defendant
     FRANK ALIOTO
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                      )       No. CR-S-11-190 MCE
 9                                                  )
                                                    )
10          Plaintiff,                              )       STIPULATION AND ORDER EXTENDING
                                                    )       TIME TO POST
11   v.                                             )       POST PROPERTY BOND
                                                    )
12                                                  )
     FRANK ALIOTO,
                                                    )
13                                                  )
            Defendant.                              )
14                                                  )
                                                    )
15                                                  )
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17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
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     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
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     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. On May 23, 2012 a stipulation and proposed order was filed and approved to extend the
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     due date of the filing to May 30, 2012. On June 1, 2012 another stipulation and proposed order
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     was filed and approved to extend the due date of the filing to June 13, 2012. Subsequently, via
23
     stipulation, the "due date" was extended first to June 27, 2012, and then to August 1, 2012.
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            The Surety has provided the bond documents, and counsel has provided the documents to
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     the Government. The Government needs additional time to review the documents received from
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     the defense. Additionally, once the documents are approved the defense will need time to have
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     the deed recorded and file the bond.
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 1          Accordingly the parties agree the deadline for posting the property bond may be extended
 2   to August 31, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he
 3   has no objection to this request.
 4

 5   Dated: July 30, 2012                                /s/ John R. Manning
                                                         JOHN R. MANNING
 6                                                       Attorney for Defendant
                                                         Frank Alioto
 7

 8

 9   Dated: July 31, 2012                                Benjamin B. Wagner
10
                                                         United States Attorney

11
                                                         by: /s/ Jason Hitt
12                                                       JASON HITT
13
                                                         Assistant United States Attorney

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15
            For good cause appearing, the due date for posting of a secured property bond in this
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     matter shall be continued to August 31, 2012.
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     SO ORDERED.
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     Dated: July 31, 2012.
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